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 5
                           UNITED STATES DISTRICT COURT
 6
                          WESTERN DISTRICT OF WASHINGTON
 7                                  AT SEATTLE

 8
     KING COUNTY,                                         No. C18-758-RSL
 9
                         Plaintiff,
10                                                        ORDER GRANTING
                v.                                        PARTIALLY UNOPPOSED
11                                                        MOTION TO STAY
     BP P.L.C., a public limited company of               PROCEEDINGS
12   England and Wales, CHEVRON
13   CORPORATION, a Delaware
     corporation, CONOCOPHILLIPS, a
14   Delaware corporation, EXXON MOBIL
     CORPORATION, a New Jersey
15   corporation, ROYAL DUTCH SHELL
16   PLC, a public limited company of
     England and Wales, and DOES 1 through
17   10,
18                       Defendants.
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           This matter comes before the Court on plaintiff King County’s partially
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     unopposed motion to stay proceedings (“the Motion”). Dkt. #125. Defendants BP p.l.c.
21
     (“BP”) and Chevron Corporation (“Chevron”) oppose this motion. The remaining three
22
     defendants—ConocoPhillips, Exxon Mobil Corporation, and Royal Dutch Shell plc—
23
     do not.
24
           Plaintiff brings this action under Washington state law for harms suffered by
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     King County due to a changing climate. Dkt. #113. In the Motion, plaintiff alleges that
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     two lawsuits similar to this action were filed in September 2017 by the City of Oakland

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 1   and the City and County of San Francisco before the District Court for the Northern
 2   District of California (“the Oakland/San Francisco Actions”). See Case No. 3:17-
 3   06011-WHA (N.D. Cal.); Case No. 3:17-06011-WHA (N.D. Cal). Both were dismissed
 4   for failure to state a claim. See City of Oakland v. BP P.L.C., 325 F. Supp. 3d 1017
 5   (N.D. Cal. 2018). Oakland and San Francisco timely appealed. The cases have been
 6   consolidated in the Ninth Circuit as Appeal No. 18-16663, and all briefing is due to be
 7   completed on January 31, 2019. See the Motion at 4. Plaintiff therefore requests a stay
 8   until the Ninth Circuit issues a decision in the Oakland/San Francisco Actions.
 9           A district court has “… broad authority to stay proceedings as part of [its] power
10   to control [its] docket.” Bastida v. Nat’l Holdings Corp., No. C16-388RSL, 2016 WL
11   4250135, at *3 (W.D. Wash. Aug. 4, 2016) (citing to Clinton v. Jones, 520 U.S. 681,
12   705 (1997)). It must weigh “… the competing interests which will be affected by the
13   granting or refusal to grant a stay,” which include “… [1] the possible damage which
14   may result from the granting of a stay, [2] the hardship or inequity which a party may
15   suffer in being required to go forward, and [3] the orderly course of justice measured in
16   terms of the simplifying or complicating of issues, proof, and questions of law which
17   could be expected to result from a stay.” CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th
18   Cir. 1962); accord. Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005).
19           It is unlikely that a stay would result in any significant damage or cause any
20   hardship to any party.1 This Court has not passed any orders altering the status quo or
21   granting any intermediate relief. Moreover, there is substantial overlap between the
22   present action and the Oakland/San Francisco Actions, particularly with regard to how
23   and whether state-law public nuisance claims are preempted by federal common law.
24   As plaintiff points out, BP and Chevron conceded in their own motions to dismiss that
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26   1
      In their opposition, Chevron and BP assert only that the prolonging of the litigation will be
     harmful to their reputation and add additional costs. See Dkt. #126 at 3-4.
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 1   the Oakland/San Francisco Actions were “identical” or “materially identical” to the
 2   present one. See Dkt. #117 at 1, 9; see Dkt. #119 at 1. The Ninth Circuit’s rulings will
 3   likely have “… significant relevance to—and potentially control—the court’s
 4   subsequent ruling here.” Washington v. Trump, No. C17-0141JLR, 2017 WL 1050354,
 5   at *5 (W.D. Wash. Mar. 17, 2017).
 6          For all the foregoing reasons, plaintiff’s motion is GRANTED. It is hereby
 7   ORDERED that:
 8          1.     Proceedings in this matter are stayed, pending a decision by the Ninth
 9   Circuit in City of Oakland v. BP P.L.C, No. 18-16663. All deadlines in the action
10   pending in this Court, including deadlines related to the pending motions to dismiss, are
11   hereby suspended until further order of the Court.
12          2.     All parties to this action shall inform the Court by letter of their position
13   on how to proceed based upon the outcome of the appeal in City of Oakland. This letter
14   shall be filed within 10 business days of (a) the deadline for filing a petition for
15   rehearing and/or rehearing en banc expires in City of Oakland without any party filing a
16   petition; (b) the date on which any such petition is denied; or (c) the date on which the
17   Ninth Circuit issues an opinion after rehearing or rehearing en banc.
18          3.     Any party may move to lift this stay at any time.
19
20   DATED this 17th day of October, 2018.
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23
                                                        A
                                                        Robert S. Lasnik
                                                        United States District Judge 
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